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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York

                                                      Th e Silvio J. Mo llo Building
                                                      One Saint Andrew 's Pla~a
                                                      New York, New York 10007


                                                       November 4, 2020

                                             The pre-trial conference currently scheduled for November 9, 2020 is
                                             hereby adjourned to January 6, 2021, at 9:00 a.m. Time is excluded
ByECF                                        through that date in the interests of justice .
The Honorable Alvin K. Hellerstein
United States District Judge                 So ordered .
Southern District of New York                November 5, 2020
United State Courthouse
500 Pearl Street, Courtroom 140                                                                     .•·.,
New York, New York 10007

       Re:      United States v. Cliver Antonio Alcala Cordones, S2' 11 Cr. 205 (AKH)

Dear Judge Hellerstein:                                                          ~
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         We write on behalf of the parties with respect to the confere1w~ currently scheduled for
November 9, 2020, at 11 :00 a.m, The Government has made several significant discovery
productions to the defendant, and the defendant is continuing to review that material. The
Government also understands that defense counsel recently met with the defendant virtually for
the first time in light of the COVID-19 restrictions , Accordingly, the P<}rties respectfully request
a 60-day adjournment of the upcoming conference date. The Go~eJnment also respectfully
requests that, in light of the COVID-19 pandemic and to allow for the continued review of
discovery, the Court exclude time through the date of the new confe;;e·ri'c in the interests of justice
pursuant to 18 U.S,C. § 3161 (h)(7)(A), Defense counsel consents to t~ese requests ,

                                                         Respectfully submitted,
                                                         AUDREY STRAUSS
                                                         Acting United States Attorney


                                                   By:            Isl            ··        ~
                                                         Amanda Houle ,, . 'l
                                                         Matthew Laroche
                                                         Jason A, Richman '
                                                         Kyle Wirshba
                                                         Assistant United States Attorneys
                                                         (212) 637-2 l 94/2420/258912493

cc:     Defense counsel (by ECF)
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